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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA,
V.

Criminal No. 19-374 (RDM)

RANI EL-SAADI and MOHAMMAD DIAB,

Defendants.

 

 

Question No. 1

With respect to the obstruction count:

(1) Can a failure to correct misstatements made prior to acquiring knowledge of a grand jury
proceeding, if such failure occurs after obtaining knowledge of the proceeding, satisfy the
third element?

(2) Do the defendant’s acts need to take place after the grand jury proceeding was initiated to
satisfy the third element?

Response

(1) A violation of 18 U.S.C. § 1503 requires a nexus between an obstructive act and a
judicial proceeding. Thus, if a defendant lacks knowledge that his actions are likely to
affect a judicial proceeding—here, a grand jury proceeding—at the time he acts, he lacks
the requisite intent to obstruct that proceeding. Anything that the defendant said or did
after learning of the grand jury proceeding that was corruptly intended to influence,
obstruct, or impede that proceeding, however, would violate the statute.

(2) Although it is not necessary that the grand jury have actually convened before Mr. Diab
acted, you should convict on Count 50 only if you find beyond a reasonable doubt that he
said something to the FBI Agents on or about March 20, 2019, that he believed was likely
to affect the judicial proceeding, and that he did so with the corrupt intent to influence,
obstruct, or impede that judicial proceeding. You need not find, however, that he was
successful in achieving that unlawful objective.
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Question No. 2

We have a question about the conspiracy count. Page 30 suggests, with respect to the
first element, that it is sufficient to find that a defendant conspired with at least one other
person. Page 32 suggests that we are to evaluate whether the conspiracy alleged in the
indictment existed, which (per pages 38-39) the defendant joined. Do we need to find all
elements on page 32 in addition to the standard on page 30.

Response

To convict a Defendant on the conspiracy charge, you must find that the government has
proven each of the three elements of a conspiracy (set forth on page 30 of my
instructions) beyond a reasonable doubt. The instructions then explain in greater detail
what is required with respect to each of the three elements. The first element requires
proof beyond a reasonable doubt that the Defendant entered into an agreement with at
least one other person (among those identified on page 32) to commit at least one of the
object offenses of the conspiracy (among those identified on page 32, and further
explained on pages 34-37). If you find beyond a reasonable doubt that the Defendant
entered into an agreement with at least one of these people to commit at least one of the
object offenses, you should then proceed to consider whether the government has proven
the second and third elements of the conspiracy charge beyond a reasonable doubt.

As noted on page 39, you must find that there was a single conspiracy involving the
Defendant and at least one other person identified on page 32 to commit at least one of
the object crimes identified on that page. You need not find, however, that each alleged
co-conspirator knew each other or that each alleged co-conspirator was aware of each

transaction alleged.
